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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT STOUD CIVIL ACTION
Plaintiff
V.
SUSQUEHANNA COUNTY
Defendant No. 3:17-CV-2183

 

MOTION TO CONTINUE TRIAL DATE

NOW COMES, the Plaintiff, Robert Stoud, by and through his attorneys,

and in support of this motion, aver as follows:

1.

2.

Trial in this matter is scheduled for September 28, 2020 (Doc. 82).

This Honorable Court previously issued an Order (Doc. 60) permitting
the Plaintiff to conduct discovery limited to the allegations contained in
the Giangrieco Complaint.

Plaintiff's counsel then sought to depose several witnesses under the
control of defense counsel.

Defense counsel refused to produce the witnesses to be deposed.

At a pre-trial conference on September 23, 2020, defense counsel agreed
to produce the witnesses for depositions.

On September 23, 2020, the undersigned contacted defense counsel

seeking concurrence in this motion and defense counsel did not concur.

 
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7. The depositions are necessary to prepare for trial.

8. Therefore, the undersigned are seeking a continuance of the trial date to

take depositions of individuals with knowledge of the facts alleged in the

Giangrieco Complaint.

WHEREFORE, the Plaintiff respectfully requests this Honorable Court grant

the continuance motion.

Date: September 23, 2020

Respectfully Submitted:

/s/ Gerard M. Karam, Esquire
Gerard M. Karam, Esquire
Bar LD. # PA 49625

emk@mkpvlaw.com

/s/ Christopher J. Szewezyk, Esquire
Christopher J. Szewezyk, Esquire
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Mazzoni, Karam, Petorak, and
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Attorneys for the Plaintiff

 
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CERTIFICATE OF NON-CONCURRENCE

The undersigned hereby certifies that on September 23, 2020, he contacted
A. James Hailstone, Esquire requesting concurrence in the foregoing motion.

Attorney Hailstone does not concur in Plaintiff's request.

/s/ Gerard M. Karam, Esquire
Gerard M. Karam, Esquire
Mazzoni, Karam, Petorak, and
Valvano

321 Spruce Street

Suite 201

Scranton, PA 18503

(570) 348-0776

Dated: September 23, 2020

 
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CERTIFICATE OF SERVICE

I, Gerard M. Karam, Esquire, hereby certify that I have served a true and
correct copy of the foregoing document via electronic service/ECF system on the

23rd day of September, 2020.

/s/ Gerard M. Karam, Esquire
Gerard M. Karam, Esquire

 
